            Case 1:22-cv-01259-RCL Document 55 Filed 08/07/23 Page 1 of 3




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

CHEMICAL TOXIN WORKING GROUP INC.)
DBA HEALTHYLIVING FOUNDATION INC.,)
On behalf of themselves and all others                     )
similarly situated
                                                           )
                  Plaintiff,                               )
                                                           )
v.                                                         )         Case No. 1:.22-cv-01259-RCL
                                                           )
JOHNSON & JOHNSON,                                         )
                                                           )
and                                                        )
                                                           )
JOHNSON & JOHNSON CONSUMER INC.                           )
                                                           )
                  Defendants.                              )
                                                       11tt!.1U"t:
         UPON CONSIDERATION of the parties' Joint Motion to Modify the Scheduling Order,

it is hereby ORDERED this           7 H...day of A-t·, 2023 that the Motion is GRANTED·
         IT IS THEREFORE ORDERED that the Scheduling Order is amended as follows:

                                                           Previous Deadline        New Deadline:

Joinder and Amended Pleadings Due:                         June 3, 2023             NIA

Deadline for the parties to complete fact
discovery on issues relating to class certification:       September 1, 2023        October 31, 2023

Deadline for plaintiff to file motion for class
certification and serve class certification-related
expert reports:                                            September 21, 2023       November 20, 2023

Deadline for defendants to serve class
certification-related expert reports and
opposition to motion for class certification:              November 20, 2023        January 19, 2024

Deadline for plaintiff to file reply in support
of class certification:                                    January 19, 2023         March 19, 2024

Alternative Dispute Resolution deadline:                             30 days following a ruling
                                                                     on Plaintiffs Motion for
          Case 1:22-cv-01259-RCL Document 55 Filed 08/07/23 Page 2 of 3




                                                           Class Certification




                                     Honorable Judge Royce C. Lamberth
                                     United States District Court for the District of Columbia
Dated:    �/ 1 / ��


Copies to:

Julie Oliver-Zhang, Esq. (D.C. Bar No. 997183)
Oliver-Zhang Law, PLLC
810 New Hampshire Ave. NW
Washington, DC 20037
Phone: (202) 643-1110
Fax: (202) 643-1596
Email: julie@oliverzhanelaw.com
       Lead Counsel for PlaintiffHLF

KAPLAN FOX & KILSHEIMER LLP
Laurence D. King (Admitted Pro Hae Vice)
Kathleen A. Herkenhoff (Admitted Pro Hae Vice)
Matthew B. George (Admitted Pro Hae Vice)
Blair E. Reed (Admitted Pro Hae Vice)
1999 Harrison Street, Suite 1560
Oakland, CA 94612
Telephone: 415/772-4700
415/772-4707 (fax)
lking@kaplanfox.com
kberkenh ff@.kaplanfox.com
mgeorge@kaplanfox.com
brccd@kanIan fox. com

POULSEN LAW P.C.
Aida Poulsen (Pro Hae Vice pending)
282 11th Avenue, Suite 2612
New York, NY 10001
Telephone: (650) 296-1014
Email: ap@poulsenlaw.org
Attorneys for Plaintiffand the Proposed Class

AKIN GUMP STRAUSS HAUER & FELD LLP
Anthony T. Pierce (D.C. Bar No. 415263)
        Case 1:22-cv-01259-RCL Document 55 Filed 08/07/23 Page 3 of 3




Miranda A. Dore (D.C. Bar No. 1617089)
2001 K Street, NW Washington, D.C. 20006
Telephone: (202) 887-4000
apierce@akingump.com
mdore@akingump.com


 PATTERSON BELKNAP WEBB & TYLER LLP
 Steven A. Zalesin (Admitted Pro Hae Vice)
 Joshua Kipnees (Admitted Pro Hae Vice)
 George Soussou (Admitted Pro Hae Vice)
Gautam Rao (Admitted Pro Hae Vice)
Jonah Knobler (Admitted Pro Hae Vice)
1133 Avenue of the Americas
New York, New York 10036
Telephone: (212) 336-2110
sazalesin@pbwt.com
jknobler@pbwt.com
jkipnees@pbwt.com
gsoussou@pbwt.com
grao@pbwt.com
Attorneys for Defendants
